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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 ARMAND WHITE,                            )
                                          )
                          Petitioner      )
                                          )
             vs.                          )       CAUSE NO. 3:12-CV-87 RM
                                          )   (Arising out of 3:10-CR-49(3) RM)
 UNITED STATES OF AMERICA,                )
                                          )
                          Respondent      )


                               OPINION and ORDER

       In June 2010, Armand White pleaded guilty to charges of aggravated bank

 robbery, 18 U.S.C. §§ 2113(d), and brandishing a firearm during a crime of

 violence, 18 U.S.C. § 924(c). More than a year after sentence was imposed, Mr.

 White filed a motion to vacate his sentence under 28 U.S.C. § 2255, contending

 that he didn’t possess the firearm used in the robbery and that his attorney was

 ineffective because he didn’t challenge the sufficiency of the evidence and coerced

 him into pleading guilty to crimes he didn’t commit. The court held that Mr.

 White’s motion was barred by the waiver in his plea agreement and that his claims

 weren’t supported by the record or the law, and denied Mr. White’s § 2255 motion

 on July 9, 2012. The court construes Mr. White’s notice of appeal [Doc. No. 109]

 to include a request for a certificate of appealability and for leave to proceed in

 forma pauperis on appeal.
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       Issuance of a certificate of appealability would require the court to find that

 Mr. White has made “a substantial showing of the denial of a constitutional right.”

 28 U.S.C. § 2253(c)(2). He hasn’t done this. Mr. White didn’t establish that his

 waiver was anything but informed and voluntary, or that his counsel provided

 ineffective assistance. His request for a certificate of appealability is therefore

 denied.

       Federal Rule of Appellate Procedure 24(a)(3) provides that a financially

 indigent person may be permitted to proceed on appeal in forma pauperis unless

 the court “certifies that the appeal is not taken in good faith.” In other words, the

 court must determine “that a reasonable person could suppose that the appeal

 has some merit.” Walker v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000). Because

 no reasonable person could find that Mr. White’s appeal has any merit, the court

 concludes that his appeal is not taken in good faith, and his request for pauper

 status must be denied.

       Based on the foregoing, the request for a certificate of appealability and for

 leave to proceed in forma pauperis on appeal is DENIED.

       SO ORDERED.

       ENTERED:      August 30, 2012



                                      /s/ Robert L. Miller, Jr.
                                 Judge
                                 United States District Court


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 cc:   A. White
       AUSA Schaffer




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